
OPINION OF THE COURT
ROBERT L. COWLES, Circuit Judge.
This cause came before the Court on the Appeal of COMMUNICATIONS WORKERS OF AMERICA, Local 3106, AFL-CIO. A Brief was filed on behalf of the Appellant. No Brief was filed on behalf of REBECCA THOMPSON.
The Court has reviewed the transcript from Record on Appeal and Brief of Appellant. The Court has further reviewed the Final Judgment of July 26, 1988.
This Court is of the opinion that there was sufficient reason for the Court below to find that there was not sufficient evidence to support *54the Appellant’s claim and that apparently the Appellant did not carry its burden of proof in persuading the Court below that it was entitled to recover under its Statement of Claim.
In view of the foregoing, this Court is of the opinion that the Final Judgment below should be AFFIRMED.
DONE AND ORDERED in Chambers at Jacksonville, Duval County, Florida, this 3rd day of April, 1989.
